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 5 Attorney for:
   JOVANNY ARELLANES
 6
                                    IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                             CASE NO. 13-CRS-227 GEB
10
                                      Plaintiff,           STIPULATION REGARDING EXCLUDABLE
11                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                           [PROPOSED] FINDINGS AND ORDER TO
12                                                         CONTINUE CASE TO 7/17/15 AT 9:00 A.M.
     JOVANNY ARELLANES, et. al.
13                        Defendants

14
                                                     STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, and Defendant Jovanny
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     Arellanes, represented by Attorney Dina Santos; Defendant Francisco Arellanes, represented by
17
     Attorney Timothy Warriner; Defendant Efrain Padilla Pena, represented by Attorney Richard Dudek,
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     hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on May 29, 2015.
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            2.      By this stipulation, defendant now moves to continue the status conference until July 17,
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     2015, and to exclude time between May 29, 2015, and July 17, 2015, under Local Code T4. Plaintiff
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     does not oppose this request.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)       Counsel for defendants desire additional time to review discovery, continue to
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            conduct investigation, and to otherwise prepare for trial.
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                    b)       Counsel for defendants believe that failure to grant the above-requested
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            continuance would deny them the reasonable time necessary for effective preparation, taking into
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      Stip. & [Proposed] Order Continuing Status Conf. &   1
      Excluding Time Periods Under Speedy Trial Act
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              Case 2:13-cr-00227-DAD Document 110 Filed 05/29/15 Page 2 of 3


 1          account the exercise of due diligence.

 2                  c)       The government does not object to the continuance.

 3                  d)       Based on the above-stated findings, the ends of justice served by continuing the

 4          case as requested outweigh the interest of the public and the defendant in a trial within the

 5          original date prescribed by the Speedy Trial Act.

 6                  e)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 7          et seq., within which trial must commence, the time period of May 29, 2015, to July 17 , 2015,

 8          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

 9          because it results from a continuance granted by the Court at defendant’s request on the basis of

10          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

11          of the public and the defendant in a speedy trial.

12          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

13 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

14 must commence.

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17          IT IS SO STIPULATED.

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20 Dated: May 28, 2015                                         BENJAMIN B. WAGNER
                                                               United States Attorney
21

22                                                             /s/ Todd Pickles
                                                               TODD PICKLES
23                                                             Assistant United States Attorney

24

25 Dated: May 28, 2015                                     /s/ Timothy Warriner
                                                           TIMMOTHY WARRINER, ESQ.
26                                                         Attorney for Francisco Arellanes
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      Stip. & [Proposed] Order Continuing Status Conf. &   2
      Excluding Time Periods Under Speedy Trial Act
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 1 Dated: May 28, 2015                                           /s/ Dina L. Santos
                                                                 DINA SANTOS, ESQ.
 2                                                               Attorney for Jovanny Arellanes

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 5 Dated: May 28, 2015                                       /s/ Richard Dudek
                                                             RICHARD DUDEK, ESQ.
 6                                                           Attorney for Efrain Padilla Pena
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                                                           ORDER
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            IT IS SO FOUND AND ORDERED.
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     Dated: May 29, 2015
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      Stip. & [Proposed] Order Continuing Status Conf. &     3
      Excluding Time Periods Under Speedy Trial Act
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